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                                  United States Bankruptcy Court
                                  Southern District of New York




         Jovi Enterprises, Inc.
In re:                                                              Case No.

                                                                    Chapter    11
                       Debtor(s)




                                  Verification of Creditor Matrix



       The above-named Debtor(s) hereby verify that the attached list of creditors is
true and correct to the best of their knowledge.




               01/14/2020                           /s/ Clara Correa
Date:
                                                    Signature of Individual signing on behalf of debtor

                                                     President
                                                    Position or relationship to debtor
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                                                  Pg 2 of 2
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